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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

ROGER HARRY OLSON, II                     §
(BOP Register No. 49151-177),             §
                                          §
             Movant,                      §
                                          §
V.                                        §         No. 3:18-cv-1530-N
                                          §
UNITED STATES OF AMERICA,                 §
                                          §
             Respondent.                  §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. An objection was filed by Movant. The District Court

reviewed de novo those portions of the proposed findings, conclusions, and

recommendation to which objection was made, and reviewed the remaining proposed

findings, conclusions, and recommendation for plain error. Finding no error, the

Court ACCEPTS the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge.

       As the Court lacks jurisdiction over Movant’s Rule 60(b)(6), which, in

substance, is an unauthorized successive 28 U.S.C. § 2255 motion to vacate, set aside,

or correct sentence, it is ORDERED, ADJUDGED, and DECREED that the motion is

TRANSFERRED to the United States Court of Appeals for the Fifth Circuit for

appropriate action.



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      Because the Court is transferring the successive Section 2255 motion to the

Fifth Circuit for appropriate action, the Court need not address whether Movant is

entitled to a certificate of appealability (“COA”). See United States v. Fulton, 780 F.3d

683, 688 (5th Cir. 2015) (“[A] transfer order under 28 U.S.C. § 1631 is not a final order

within the meaning of [28 U.S.C.] § 2253(c)(1)(B), and the appeal of such an order

does not require a COA.”). But, in the event that Defendant will file a notice of appeal,

the Court notes that he must pay the filing fee or file a motion for leave proceed in

forma pauperis on appeal.

      Further, because Defendant’s motion is in substance a successive motion under

28 U.S.C. § 2255, the Clerk of Court is DIRECTED to open for statistical purposes a

new Section 2255 case (nature of suit 510 directly, assigned, per Special Order 3-250,

to United States District Judge David C. Godbey and United States Magistrate Judge

David L. Horan) and to close the same on the basis of the order.



      SO ORDERED this 25th day of January, 2019.




                                         _____________________________________
                                         DAVID C. GODBEY
                                         UNITED STATES DISTRICT JUDGE




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